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(Official Form 1} (9/01)

 

FORM B1 United States Bankruptcy Court

District of Delaware

Voluntary Petition

 

 

Name of Debtor (if individual, enter Last, First, Middle):
Foamex Intemational Inc.

Name of Joint Debtor (Spouse) (Last, First, Middle):

 

AH Other Names used by the Debtor in the last 6 years
Cinclude married, maiden, and trade names):

AH Other Names used by the Joint Debtor in the last 6 years
(include married, maiden, and trade names):

 

Soc. Sec./Tax LD. No. (if more than one, state all):
XX-XXXXXXX

Soc. Sec/Tax LD. No. (if more than one, state all):

 

Street Address of Debtor (No. & Street, City, State & Zip Code):
1000 Columbia Avenue
Linwood, PA 19061

Street Address of Joint Debtor (No. & Street, City, State & Zip Code):

 

County of Residence or of the
Principal Place of Business:
Delaware County, Pennsylvania

County of Residence or of the
Principal Place of Business:

 

Mailing Address of Debtor (ifdifferent from street address):

Mailing Address of Joint Debtor (if different from street address).

 

 

Location of Principal Assets of Business Debtor
Gf different from street address above):

 

Information Regarding the Debtor (Check the Applicable Boxes)

Venue (Check any applicable box)

 

 

 

 

 

 

 

 

 

bh Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately preceding the date of
this petition or for a longer part of such 180 days than in any other District.
£] There is a bankruptcy case concerning debtor's affiliate, general partner, or parmership pending in this District.
Type of Debtor (Check all boxes that apply) Chapter or Section of Bankruptcy Code Under Which
£1 Individual{s} Oo Railroad the Petition is Filed (Check one box)
#1 Corporation [] Stockbroker Chapter 7 M Chapter 11 O Chapter 13
{Partnership [J Commodity Broker Of Chapter 9 O Chapter 12
O Other (Sec. 304 —- Case ancillary to foreign proceeding
Nature of Debts (Check all boxes that apply) - Filing Fee (Check one box)
CF Consumer/Non-Business Business Full Filing Fee attached
© Filing Fee to be paid in installments (Applicabie to individuals only)
: Must attach signed application of the court’s consideration certifying
Chapter 11 Smalt Business (Check box} . eine °
C} Debtor is a small business as defined in 11 U.S.C. § 101 a tne debtor is unebis te pay fee except in installments. Rule 1006(b).
(C] Debtor is and elects to be considered a small business under 11 U.S.C, § 1E2E(e} ee Oieral Porm NO. 2.
(Optional)
Statistical/Administrative Information (Estimates Only) THIS SPACE 1S FOR COURT USE
ff Debtor estimates that funds will be available for didribution to unsecured creditors. ONLY
Cl Debtor estimates that, after any exempt property is excluded and administrative expense paid, there will be no funds available —
for distribution to unsecured creditors, _
1-15 1649 50-99 100-199 200-999 1000-over
Estimated Number of Creditors 9 a; fl ao O ra
Estimated Assets
$0to $50,001t0 $100,00hfo $500,001 to $1,000,001t0 $10,000,001 ta $50,000,001 to More than
$50,000 $100,000 $500,000 $1 million $10 million $50 million $100 million $100 million
o ie Oi Oo a Oo 0 wi
Estimated Debts
$610 $50,060] to $100,001 to $500,001 te 81,000,001 to $10,600,001 to $50,000,001 to More than
$50,000 $100,000 $500,600 $1 million $10 million $50 million $100 million $106 million
Ol a 0 oO “Oo Qi 0 ea

 

 

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(Gfficial Form 1) (9/01)

FORM Bi, Page 2

 

Voluntary Petition
(This page must be completed and filed in every case)

Name of Debtor: Foamex International Inc.

 

Prior Bankruptcy Case Filed Within Last 6 Years (1f more than one, attach additional sheet)

 

See attached list of affiliates of this Debtor with bankruptcy cases commenced
herewith,

Location Case Number: Date Filed:
Where Filed: ,
Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
Names of Debtors: Case Number: , 2005

Date Filed: September __

 

District:
District of Delaware

Relationship: Subsidiaries Judge:

 

 

Signature(s) of Debtor(s) (Individual/Joint)

I declare under penalty of perjury that the information provided in this petition is
true and correct.

[if petitioner is an individual whose debts are primarily consumer debts and has
chosen to file under chapter 7] J am aware that | may proceed under chapter 7, 11,
12, or 13 of title 11, United States Code, understand the relief available under cach
such chapter, and choose to proceed under chapter 7,

i request relief in accordance with the chapter of title 11, United States Code,
specified in this petition.

 

 

Signatures

Exhibit A

(Fo be completed if debtor is required to file periodic reports

(e.g., forms 10K and 10Q) with the Securities and Exchange

Commission pursuant to Section 13 or 15(d) of the Securities
Exchange Act of 1934 and is requesting relief under chapter 11}

fj _ Exhibit A is attached and made a part of this petition.

 

\ Exhibit B
(To be completed if deltor is an individual
whose debts are primarily consumer debts)

I, the attorney for the petitioner named in the foregoing petition, declare that I have

 

xX informed the petitioner that fhe or she] may proceed under chapter 7, 11, 12, or 13 of
Signature of Debtor title 11, United State Code, and have explained the relief available under each such
Xx chapter,
Signature of Joint Debtor x
Signature of Aitomey for Debtor(s} Date

 

telephone Number (If not represented by aftorney)

 

Date

 

SA; of Attorney
x tba

Signature of Attorney for Debio)

Pauline &, Morgan
Printed Name of Attorney of Debtor(s)

Young Conaway Staraatt & Taylor, LLP
Firm Name

1000 West Street, 17th Floor
Address

Wilmington. DE 19801

(302) 571-6600
Telephone Number

September i ¢ 2905
Date

Exhibit C
Does the debtor own or have possession of any property that poses or is alleged to
pose a threat of imminent and identifiable harm to public health or safety?
QO Yes, and Exhibit C is attached and made a part of this petition.
fe No

 

 

Signature of Debtor (Corporation/Partnership)
I declare under Signature of Debtor (Corporation/Partnership)

1 declare under penalty of perjury that the information provided in this petition is
true and correct, and that I have been authorized to file this petition on behalf of the
debtor.

The debtor requests relief in accordance with the chapter of title 11, United States

Code, specified in this petition,
x on —— eS :

Signature of Authorized individual
Gregory J. Christian
Printed Name of Authorized Individual

Executive Vice President, Chief Restructuring Officer and General Counsel
Titte of Authorized individual
September (7 2005

Date

 

 

Signature of Non-Attorney Petition Preparer

I certify that I am a bankruptcy petition preparer as defined in 1! U.S.C. § 110, that I
prepared this document for compensation, and that | have provided the debtor with a
copy of this document.

 

Printed Name of Bankruptcy Petition Preparer

 

Social Security Number

 

Address

 

Names and Social Security numbers of all other individuals who prepared or
assisted in preparing this document

If more than one person prepared this document, attach additional sheets
conforming te the appropriate official form for each person.

 

Signature of Bankruptcy Petition Preparer

 

Date

4 bankruptcy petition preparer’s failure to comply with the provisions of title 11 and
the Federal Rutes of Barkruptcy Procedure may result in fines or imprisonment or
both EL U.S.C. § 110; 18 U.S.C. § 156.

 

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Affiliates of this Debtor with Bankruptcy Cases Commenced Herewith:

Foamex L.P.

FMXE Inc.

Foamex Asia, Inc.

Foamex Latin America, Inc.
Foamex Carpet Cushion LLC
Foamex Capital Corporation
Foamex Mexico, Inc.
Foamex Mexico II, Inc.

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: ) Chapter 11

)
FOAMEX INTERNATIONAL INC., et al, } Case No. 05— ( }

)
Debtors. } (Gointly Administered)

)
)

EXHIBIT A TO VOLUNTARY PETITION
1. Foamex International Inc.’s (“Foamex”) SEC file number is: 0-22624

2. The following financial data refers to Foamex’s condition as of July 3, 2005, the
date of Foamex’s financial statements included in its last 10-Q filing with the SEC:

a. Total assets $620,826,000

b. Total debts $744,757,000

{amounts include
long-term debt and
revolving credit
borrowings)

c. Debt securities held by more than 500 holders: No

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Approximate
Amount number of holders
d. Number of shares of preferred stock 15,000 (outstanding) l
e. Number of shares of common stock 24,509,728 (outstanding) 129

 

Brief description of Foamex’s business:

Foamex, a Delaware corporation, is the largest manufacturer of flexible
polyurethane and advanced polymer foam products in North America, with

annual net sales of approximately $1.3 billion in 2004. Headquartered in
Linwood, Pennsylvania, Foamex is a public holding company that, along with its
direct and indirect subsidiaries, employs approximately 5,450 people worldwide
and maintains 42 domestic and 9 international manufacturing facilities located
throughout the United States, Canada and Mexico. Foamex’s domestic operations
are conducted through Foamex L.P., a Delaware limited partnership, in which’
Foamex International owns a 98.284% limited partnership interest; its
international operations are conducted through Foamex L.P.’s wholly-owned
subsidiaries, Foamex Canada Inc., Foamex Latin America, Inc. and Foamex Asia,
Inc.

Given its size and dominant market share, Foamex believes it is the world’s
leading producer of comfort cushioning serving the bedding, furniture, carpet and
automotive markets. Foamex also manufactures high-performance polymers for
diverse industrial applications as well as for use in the aerospace, defense,
electronics and computer industries.

List the names of any person who directly or indirectly owns, controls, or holds,
with power to vote, 5% or more of the voting securities of Foamex:

 

Name of Beneficial Owner

Estimated Percentage of Total Voting Power.

 

 

 

 

Bank of Nova Scotia 22.34%
Kennedy Capital Management, Inc. 19.44%
William D. Witter, Inc. 7.50%

 

 

 

* Information as of April 1, 2005, included in Foamex’s proxy statement.

Further, additional parties may have acquired 5% or more of the voting securities
of Foamex, but such acquisitions may not be reflected in public filings.

Doe #NY7:9441,8
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RESOLUTIONS OF
BOARD OF DIRECTORS
OF FOAMEX INTERNATIONAL INC.

Upon motion duly made, seconded, and carried the following resolutions
were adopted by the affirmative vote of a majority of the directors present at the time of
the vote, at a duly called meeting of the Board of Directors of Foamex International Inc.
(the “Corporation”) in which a quorum was present, in each case, in accordance with the
Articles of Incorporation and by-laws of the Corporation:

RESOLVED, that in the judgment of the Board of Directors of the
Corporation, it is desirable and in the best interests of the Corporation, its creditors and
other interested parties that a voluntary petition for relief (the “Petition”) be filed by the
Corporation under the provisions of chapter 11 of title 11 of the United States Code (the
“Bankruptcy Code”); and be it further

RESOLVED, that the Corporation shall be, and it hereby is, authorized,
directed and empowered (i) to file the Petition, and (ii) to perform any and all such acts as
are reasonable, advisable, expedient, convenient, proper or necessary to effect any of the
foregoing; and be it further

RESOLVED, that the President and Chief Executive Officer, Executive
Vice President and Chief Financial Officer, Senior Vice President and Chief Accounting
Officer, Executive Vice President, Chief Restructuring Officer and General Counsel, and
Senior Vice President and Treasurer (collectively, the “Designated Officers”), be and
each of them, acting alone, hereby is, authorized, directed and empowered, on behalf of
and in the name of the Corporation (i) to execute and verify the Petition as well as all
other ancillary documents and to cause the Petition to be filed with the United States
Bankruptcy Court for the District of Delaware and to make or cause to be made prior to
the execution thereof any modifications to the Petition or ancillary documents, and (11) to
execute, verify and file or cause to be filed all petitions, schedules, lists, motions,
applications and other papers or documents necessary or desirable in connection with the
foregoing; and be it further

RESOLVED, that the law firm of Paul, Weiss, Rifkind, Wharton &
Garrison LLP (“Paul Weiss”), be, and hereby is, authorized, empowered and directed to
represent the Corporation, as counsel, in connection with any case commenced by it
under the Bankruptcy Code; and be it further

RESOLVED, that the law firm of Young Conaway Stargatt & Taylor,
LLP, be, and hereby is, authorized, empowered and directed to represent the Corporation,
as co-counsel with Paul Weiss, in connection with any case commenced by it under the
Bankruptcy Code; and be it further

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RESOLVED, that Miller Buckfire & Co. LLC, be, and hereby is,
authorized, empowered and directed to represent the Corporation, as its financial advisor,
in connection with any case commenced by it under the Bankruptcy Code; and be it
further

RESOLVED, that KPMG LLP be, and hereby is, authorized, empowered
and directed to represent the Corporation, as its auditor and accountant, in connection
with any case commenced by it under the Bankruptcy Code; and be it further

RESOLVED, that Bankruptcy Services LLC be, and hereby is, authorized,
empowered and directed to represent the Corporation, as its notice, claims, solicitation
and balloting agent, in connection with any case commenced by it under the Bankruptcy
Code; and be it further

RESOLVED, that the Designated Officers be, and hereby are, authorized
to employ other special counsel, accountants and other professionals as appropriate in

connection with any case commenced by the Corporation under the Bankruptcy Code;
and be it further

RESOLVED, that, based upon Miller Buckfire & Co. LLC’s presentation
to the Board of its Preliminary Indicative Valuation Analysis, the Designated Officers be,
and hereby are, authorized to pursue a restructuring consistent with that certain Term
Sheet For Chapter 11 Plan of Reorganization, in substantially the form presented to the
Board, which outlines the principal terms of a chapter 11 plan of reorganization for the
Corporation; and be it further

RESOLVED, that the Corporation is hereby authorized to enter into as a
guarantor that certain debtor-in-possession credit agreement (the “DIP Revolving Loan
Agreement”) with Bank of America, N.A., as lender (together with the other lenders
party thereto from time to time, the “Revolving Loan Lenders”) and agent (in such
capacity, the “Revolving Loan Agent”), and the other guarantors party thereto; and all
documents, agreements and instruments related thereto, all schedules and exhibits
attached to any of the foregoing, and any and all amendments thereto and renewais and
extensions thereof, (collectively, the “DIP Revolving Loan Documents”) and such DIP
Revolving Loan Documents are hereby adopted and approved in all respects; and that the
Corporation hereby is authorized to enter into and perform its obligations under the DIP
Revolving Loan Agreement and the other DIP Revolving Loan Documents to which it is
a party; to borrow under and in accordance with the terms of the DIP Revolving Loan
Documents on a secured revolving basis in such amounts as may be mutually agreed to
from time to time; to incur from time to time obligations in respect of letters of credit and
other extensions of credit; to grant to the Revolving Loan Agent, for the benefit of the
Revolving Loan Lenders, a lien upon all or substantially all of the real and personal
property of the Corporation as security for the Obligations (as defined in the DIP
Revolving Loan Agreement) outstanding from time to time; to accord “superpriority”
administrative status under section 503(b) of the Bankruptcy Code to amounts due under
the DIP Revolving Loan Documents to pay all amounts due thereunder from time to time;
to enter into such banking and cash management arrangements as are necessary or

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desirable to give effect to the requirements of the DIP Revolving Loan Documents,
including by way of the execution and delivery of blocked account agreements for the
benefit of the Revolving Loan Agent; to provide each bank or trust company that at any
time maintains an account on behalf of the Corporation with the necessary authority to
deposit to the credit of the Revolving Loan Agent for the benefit of the Revolving Loan
Agent and the Revolving Loan Lenders all checks, drafts, orders or instruments payable
to the Corporation or to its order; and that the Designated Officers and each other officer
of the Corporation be, and each of them hereby is, authorized in the name and on behalf
of the Corporation and under its corporate seal or otherwise, to execute and deliver the
DIP Revolving Loan Agreement and the other DIP Loan Revolving Loan Documents to
which the Corporation is'a party, with such deletions or changes therein or additions
thereto as the officer executing the same deems necessary, desirable, convenient or
appropriate and each such officer is further authorized to waive the Corporation’s right to
a trial by jury and any other rights of the Corporation as such officer deems appropriate;
and be it further

RESOLVED, that the Corporation is hereby authorized to enter into as a
guarantor that certain debtor-in-possession credit agreement (the “DIP Term Loan
- Agreement”) with Silver Point Finance, LLC, as lender (together with the other lenders
party thereto from time to time, the “Term Loan Lenders”) and agent (in such capacity,
the “Term Loan Agent”), Foamex L.P., as borrower and guarantor, the other guarantors
party thereto; and all documents, agreements and instruments related thereto, all
schedules and exhibits attached to any of the foregoing, and any and all amendments
thereto and renewals and extensions thereof (collectively, the “DIP Term Loan
Documents”), and such DIP Term Loan Documents are hereby adopted and approved in
all respects; and that the Corporation hereby is authorized to enter into and perform its
obligations under the DIP Term Loan Agreement and the other DIP Term Loan
Documents to which it is a party, under and in accordance with the terms of the DIP
Term Loan Documents on a secured term basis in such amounts as may be mutually
agreed to from time to time; to incur from time to time obligations in respect of letters of
credit and other extensions of credit; to grant to the Term Loan Agent, for the benefit of
the Term Loan Lenders, a lien upon al! or substantially all of the real and personal
property of the Corporation as security for the Obligations (as defined in the DIP Term
Loan Agreement) outstanding from time to time; to accord “superpriority” administrative
status under section 503(b) of the Bankruptcy Code to all amounts due under the DIP
Term Loan Documents; to pay all amounts due thereunder from time to time; and that the
Designated Officers and each other officer of the Corporation be, and each of them
hereby is, authorized in the name and on behalf of the Corporation and under its
corporate seal or otherwise, to execute and deliver the DIP Term Loan Agreement and
the other DIP Term Loan Documents to which the Corporation is a party, with such
deletions or changes therein or additions thereto as the officer executing the same deems
necessary, desirable, convenient or appropriate and each such officer is further authorized
to waive the Corporation’s right to a trial by jury and any other rights of the Corporation
as such officer deems appropriate; and be it further

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RESOLVED, that each and every officer of the Corporation be, and each
of them acting alone is, hereby authorized, directed and empowered from time to time in
the name and on behalf of the Corporation to take such further actions and execute and
deliver such certificates, instruments, guaranties, notices and documents as may be
required or as such officer may deem necessary, advisable or proper to carry out the
intent and purpose of the foregoing, including the execution and delivery of any
instruments of indebtedness, security agreements, pledges, financing statements and the
like, and to perform the obligations of the Corporation under the Bankruptcy Code, all
such actions to be performed in such manner, and all such certificates, instruments,
guaranties, notices and documents to be executed and delivered in such form, as the
officer performing or executing the same shall approve, the performance or execution
thereof by such officer to be conclusive evidence of the approval thereof by such officer
and by the Corporation; and be it further .

RESOLVED, that in addition to the specific authorizations heretofore
conferred upon the Designated Officers of the Corporation, each of the officers of the
Corporation be, and each of them hereby is authorized, directed and empowered, in the
name and on behalf of the Corporation, to do or cause to be done all such further acts and
things and to execute and deliver all such other instruments, certificates, agreements and
documents as they or any of them may consider necessary or appropriate to enable the
Corporation to carry out the intent and to accomplish the purpose of the foregoing
resolutions; and be it further

RESOLVED, that all actions heretofore taken by any officer or director of
the Corporation in connection with the foregoing resolutions be, and they hereby are,
confirmed, ratified and approved in all respects; and it is further

RESOLVED, that the powers and authorizations hereby conferred by this
Board of Directors shall be binding upen the Corporation.

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STATE OF )
: SS.
COUNTY OF )

1, Gregory J. Christian, do hereby certify that I am the Executive Vice
President, Chief Restructuring Officer and General Counsel of Foamex International Inc.,
a corporation duly organized and existing under and by virtue of the laws of the State of
Delaware. I do further certify that the foregoing is a true, full, and correct copy of the
resolutions duly adopted by the Board of Directors of said corporation at a Board meeting
duly held telephonically on September 18, 2005, at which all directors present were able
to speak and hear each other and at which a quorum was present.

I do further certify that said resolutions have not been altered, amended, or
repealed, and are now in full force and effect.

IN WITNESS WHEREOF, I have hereunto subscribed my name and
affixed the corporate seal of said corporation this _/9" day of September

meee
Name: Gregory J. Christian
Title: Vice President,
Chief Restructuring Officer
and General Counsel

DB02;5052926.1 064397, 100f
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In re:

FOAMEX INTERNATIONAL INC., e¢ al.,

UNITED STATES BANKRUPTCY COURT

DISTRICT OF DELAWARE

)} Chapter 11
)

)
Debtors.

)
)

) Case No. 05-

(

) Gointly Administered)

)

CONSOLIDATED LIST OF UNSECURED CREDITORS HOLDING
25 LARGEST UNSECURED CLAIMS AGAINST THE DEBTORS

The following is the consolidated list of the Debtors’ creditors holding the 25
largest unsecured claims. This list is prepared in accordance with Rule 1007(d) of the
Federal Rules of Bankruptcy Procedures for filing in these chapter 11 cases. The list
does not include (1) persons who come within the definition of “insider” set forth in 11
ULS.C, § 101; or (2) secured creditors unless the value of the collateral is such that the
unsecured deficiency places the creditor among the holders of the 25 largest unsecured

 

 

 

claims.
) (2) (3) (4) (5)
NATURE
OF CLAIM AMOUNT
NAME OF CREDITOR AND NAME, TELEPHONE NUMBER AND (trade debt, OF CLAIM
COMPLETE MAILING COMPLETE MAILING ADDRESS, bank loan, Gif secured,
ADDRESS, INCLUDING ZIP INCLUDING ZIP CODE OF EMPLOYEE, | government ; Contingent also state
CODE AND AGENT OR DEPARTMENT OF contract, Unliquidated value of
FAX NUMBER CREDITOR FAMILIAR WITH CLAIM etc.) Disputed security)!
U.S, Bank National Association | U.S. Bank National Association 10 4% Unliquidated $300,000,000
Corporate Trust Services Corporate Trust Services Senior
100 Wall Street — Suite 1600 100 Wall Street - Suite 1600 Secured
New York, NY 16005 New York, NY 10005

« Fax: = 212-314-6841

 

Attn:
Fax:

James E. Murphy, Vice President
212-514-6841

 

Notes

 

 

 

 

The amounts listed in this column for trade and contract debt represent a combination of (i) balances
reflected in the Debtors’ accounts payable system, and (ii) estimates of amounts for which the Debtors

have not yet been invoiced. None of the amounts herein reflect any prepetition interest that might be

owing.

deficiency claim is unliquidated.

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While the amount of the total claim is known and correctly reflected herein, the amount of any

064397.1001

 
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a) (2) @). (4) 6)
NATURE
- | OF CLAIM AMOUNT
NAME OF CREDITOR AND NAME, TELEPIIONE NUMBER AND (trade debt, OF CLAIM
COMPLETE MAILING COMPLETE MAILING ADDRESS, bank loan, (if secured,
ADDRESS, INCLUDING ZIP INCLUDING ZIP CODE OF EMPLOYEE, | government | Contingent also state
CODE AND AGENT OR DEPARTMENT OF contract, Unliquidated value of
FAX NUMBER CREDITOR FAMILIAR WITH CLAIM etc.) Disputed security)!
The Bank of New York The Bank of New York Senior N/A $200,085,000
101 Barclay Street 101 Barclay Street Subordinated
Floor 21 W Floor 21 W Notes (2
New York, NY 10286 New York, NY 10286 tranches)
Fax: 212-815-5915 Attn: Corporate Trust
Trustee Administration
Fax: 212-815-5915
Dow Chemical Dow Chemical Trade debt N/A $20,513,344
2030 Dow Center 2030 Dow Center
Midland, MI 48674 Midland, MI.48674
Fax: 989-636-2705 Attn: Don Marquette
Phone: 856-802-9465
Fax: 989-636-2705
Email: dmarquette@dow.com
Lyondell Chemical Worldwide | Lyondell Chemical Worldwide Contract N/A $16,620,973
1221 Mckinney Street 1221 McKinney Street
Houston, TX 77010 Houston, TX 77010
Fax: 713-951-1602 Attn: Larry Schubert
Phone: 713-309-4960
Fax: 713-951-1602
Email: lawrence.schubert@lyondelL.com
Bayer Corporation Bayer Corporation Contract NA $14,047,029
100 Bayer Road 100 Bayer Road
Pittsburgh, PA 15205 Pittsburgh, PA 15205
Fax: 412-777-7760 Attn: Bob Kirk
Phone: 412-777-2560
Fax: 412-777-7760
Email: robert.kirk@bayerpolymers.com
' Shell Chemical Co. Shell Chemical Co, Contract N/A $7,525,634
P.O. Box 2463 One Shell Plaza
Houston, TX 77252-2463 Houston, TX 77002
Fax: 713-241-6465 Attn: Jean Claude Vandichei
Phone: 713-241-4965
Fax: 713-241-3809
Email: jean.claude,vandichel@shell.com
BASF Corporation BASF Corporation Trade debt N/A $4,030,256
1609 Biddle Avenue 1609 Biddle Avenue
Wyandotte, MI 48192 Wyandotte, M1 48192
Fax: 734-324-5452 Attn: Larry Berkowski
Phone: 734-324-5485
Fax: 734-324-5452
Email: berkowl@basf.com
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q) (2) (3) (4) (5)
NATURE
OF CLAIM AMOUNT
NAME OF CREDITOR AND NAME, TELEPHONE NUMBER AND (trade debt, OF CLAIM
COMPLETE MAILING COMPLETE MAILING ADDRESS, bank loan, (if secured,
ADDRESS, INCLUDING ZIP INCLUDING ZIP CODE OF EMPLOYEE, | government Contingent also state
CODE AND AGENT OR DEPARTMENT OF contract, Unliquidated value of
FAX NUMBER CREDITOR FAMILIAR WITH CLAIM ete.) Disputed security)!
8. Huntsman Polyurethanes Huntsman Polyurethanes Contract N/A $2,723,096
10003 Woodloch Forest Drive 10003 Woodloch Forest Drive
The Woodlands, TX 77380 The Woodlands, TX 77380
Fax: 713-235-6416 Attn: Greg Geaman
Phone: 281-719-4822
Fax: 713-235-6416
Email: gregory n_geaman@buntsman.com
9. Milliken & Company Milliken and Company Trade debt N/A $1,262,232
920 Milliken Road 920 Milliken Road
Spartanburg, SC 29303 Spartanburg, SC 29303
Fax: 212-819-4279 Attn: Denis Golden
Phone: 212-819-4586
Fax: 212-819-4279
Email: Denis. Golden@Milliken.com
10. American Express Travel American Express Travel Related Services Contract N/A $1,200,000
Related Services Company, Inc. | Company, Inc.
Travel Group Service Center Travel Group Service Center
20022 North 31* Avenue 20022 North 31* Avenue, Mail Code 086315
Mail Code 080315 Phoenix, AZ 85027
Phoenix, AZ 85027 Attn: Renee Celinski
Attn: Corporate Purchasing Phone: 609-844-7770
Card Unit Fax: 623-492-1777
Fax: 623-492-1777 | Email: renee.celinski@aexp.com
11. Kawashima Textile USA Inc. Kawashima Textile USA Inc. Trade debt N/A $1,061,233
412 Groves Street 412 Groves Street
Lugoff, SC 29078 Lugoff, SC 29078
Fax: 803-421-0039 Attn: Cris Cowger, Vice President, Sales
Phone: 803-421-0033
Fax: 803-421-0039
Email: ccowzer@kawashima-usa.com .
12, EDS Corporation EDS Corporation Contract NIA $1,056,750
H1-5E-85 H1-5E-85
5400 Legacy Drive 5400 Legacy Drive
Plano, TX 75024 Plano, TX 75024
Fax: 972-605-6508 Attn: Dale Hoenshell
Client Executive
Phone: 972-605-5103
Fax: 972-605-6508
Email: dale.hoenshell@eds.com
13, Mesilla Valley Transportation Mesilla Valley Transportation Contract N/A $898,506
3530 West Picocho 3530 West Picacho
Los Cruces, NM 88001 Los Cruces, NM 88001
Fax: 505-524-2835 Attn: Royal Jones
Phone: 505-541-4252
Fax: 505-524-2835
Email: royal@m-v-t.com
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14. Inolex Chemical Co. Inolex Chemcial Co. Contract N/A $894,672
Jackson and Swanson Streets Jackson and Swanson Streets
Philadelphia, PA 19148 Philadelphia, PA 19148
Fax: 215-271-6282 Attn: Mike Chiarlone, Jr,
Phone: 215-271-0800, ext. 227
Fax: 215-271-2621
Email: mchiarlone@inolex.com
15. Goldschmidt Chemical Corp. Goldschmidt Chemical Corp. Trade debt N/A $714,928
914 E. Randolph Rd. 914 E. Randolph Rd.
Hopewell, VA 23860 Hopewell, VA 23860
Fax: 704-544-0240 Attn: EW. Witherspoon
Market Manager
Phone: 704-544-0230
Fax: 704-544-0240
Email: jay.witherspoon@degussa.com
16. Maverick Inc. Maverick Inc. Contract N/A $663,328
5817 Tree Line Drive $817 Tree Line Drive
Madison, WI 53711 Madison, WI 53711
Fax: 608-227-0224 Attn: Chris Peterson
Phone: 608-227-0223
Fax: 608-227-0224
Email: chris@maverickbroker.com
17. Great Lakes Chemical Corp.,a | Great Lakes Chemical Corp., a Contract N/A $531,680
Chemtura Company Chemtura Company
P.O. Box 2200 P.O. Box 2200
West Lafayette, IN 47906 West Lafayette, IN 47906
Fax: 704-894-0162 Atin. Vice President, Marketing
Phone; 704-894-078]
Fax: 704-894-0162
Email: mswing@chemtura.com
18, Gulbrandsen Mfz. Gulbrandsen Mfg. Trade debt N/A $461,916
183 Gulbrandsen Road 183 Gulbrandsen Road
Orangeburg, SC 29116 Orangeburg, SC 29116
Fax: 908-735-6971 Attn: Donald Guibrandsen
Phone: 908-735-5458 ext. 108
Fax: 908-735-6971
Email: donalde@eoulbrandsen.com
19. GE Silicones GE Silicones Trade debt N/A $441,155
318-24 Forth Avenue 318-24 Forth Avenue
South Charleston, WV 25303 South Charleston, WV 25303
Fax: 704-545-2475 Attn: David Simpson
Account Executive
Phone: 704-545-7250
Fax: 704-545-2475
Email; david.simpson@ge.com
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CODE AND AGENT OR DEPARTMENT OF contract, Unliquidated value of
FAX NUMBER CREDITOR FAMILIAR WITH CLAIM etc.) Disputed security)’
20. Crowley Chemical Company Crowley Chemical Company Trade debt N/A $370,386
261 Madison Avenue 261 Madison Avenue
14" Floor 14" Floor
New York, NY 10016 New York, NY 10016
Fax: 212-953-3487 Attn: Christopher Montensen
Phone: 212-682-1200
Fax: 212-953-3487
Email: chris@crowleychemical.com
21, Knight Transportation Knight Transportation Contract N/A $365,598
5601 W. Buckeye Road 5601 W. Buckeye Road
Phoenix, AZ 85043 Phoenix, AZ 85043
Fax: 714-685-6606 Attn: Keith Knight
Phone: 602-606-6457
Fax: 714-685-6606
Email: keith@lnighttrans.com
22. NBS Trucking NBS Trucking Contract NIA $353,997
P.O. Box 39 P.O, Box 39
Custer City, PA 16725 Custer City, PA 16725
Fax: 814-362-6472 Attn: Jim Rychik
Phone: 814-362-2076
Fax: 814-362-6472
Email; jrychik@nbstrucking.com
23. Advanced Foam Recycling Inc. | Advanced Foam Recycling Inc. Trade debt N/A $285,373
P.O. Box 822022 P.O. Box 822022
North Richland Hills, TX North Richland Hills, TX 76182
76182 Attn: Duane Renfro
Fax: 817-834-2676 Phone: 817-834-7662
Fax: 817-834-2676
Email: duane@advfoamrec.com
24. Albermarle Corporation Albermarle Corporation Trade debt N/A $278,232
108 Interlachen Ct. 108 Interlachen Ct.
Avondale, PA 19311 Avondale, PA 19311
Fax: 610-268-3025 Attn: Paul A. Fauss
Phone: 610-268-0232
Fax: 610-268-3025
Email: paul fauss@albermarle.com
25. AM & Associates AM & Associates Trade debt NIA $252,096
602 North Cypress Street 602 North Cypress Street
Orange, CA 92867-6604 Orange, CA 92867-6604
Fax: 714-744-9865 Attn: Bob Kirish
Phone: 714-744-1100
Fax: 714-744-9865
Email: bob@pple.net
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DECLARATION CONCERNING CONSOLIDATED
LIST OF CREDITORS HOLDING 25 LARGEST UNSECURED CLAIMS

I, Gregory J. Christian, am Vice President, Chief Restructuring Officer, General
Counsel and Secretary of Foamex International Inc., one of the debtors in these cases. In
my capacity as such, I have detailed knowledge of and experience with the business and
financial affairs of Foamex International and its subsidiaries and affiliates, including
Foamex L.P., Foamex Carpet Cushion LLC, Foamex Latin America, Inc., Foamex Asia,
Inc., FMXI, Inc., Foamex Capital Corporation, Foamex Mexico, Inc. and Foamex
Mexico IL, Inc., the chapter 11 debtors. I hereby declare under penalty of perjury that I
have read the foregoing Consolidated List of Creditors Holding 25 Largest Unsecured
Claims and that it is true and correct to the best of my information and belief.

Dated: Linwood, Pennsylvania
September /¥ , 2005

Gregory J. Christian

Executive Vice Presidéat, Chief
Restructuring Officer, General Counsel and
Secretary, Foamex International Inc.

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